        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 1 of 24            FILED
                                                                        2022 Apr-04 PM 01:34
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                            MIDDLE DIVISION

STATE OF ALABAMA;
STATE OF FLORIDA;
STATE OF GEORGIA,

      Plaintiff,

      v.                                       Case No. _______

ALEJANDRO MAYORKAS, Secretary
of the U.S. Department of Homeland
Security, in his official capacity; U.S.
DEPARTMENT OF HOMELAND
SECURITY; CHRIS MAGNUS,
Commissioner of U.S. Customs and
Border Protection, in his official capacity;
U.S. CUSTOMS AND BORDER
PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official
capacity; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; UR M.
JADDOU, Director of U.S. Citizenship
and Immigration Services, in her official
capacity; U.S. CITIZENSHIP AND
IMMIGRATION SERVICES; the
UNITED STATES OF AMERICA,

      Defendants.
_________________________________/

      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
           Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 2 of 24




                                     INTRODUCTION

         1.      “Congress has told DHS that it has to prioritize the removal of criminal

aliens.” Oral Arg. Tr. 21:9–22, United States v. Texas, 579 U.S. 547 (2016) (No. 15-674)

(argument of Obama Administration Solicitor General Donald Verrilli). 1

         2.     While the Executive Branch generally has discretion to decide which

aliens to detain and deport, that discretion is a function of the “vague and sweeping

language employed by Congress” in the immigration laws. Jean v. Nelson (Jean II), 727

F.2d 957, 967 (11th Cir. 1984) (en banc); see U.S. Const. art. I, § 8.

         3.     It follows that, when Congress uses language ordering immigration

officials to take specific actions at specific times, those officials have a non-

discretionary duty to do so.

         4.     In 1988, Congress did just that. It instructed the Executive Branch to

arrest, detain, and remove all aggravated felons. Pub. L. 100-690, § 7343, 102 Stat.

4181 (1988). The Executive Branch interpreted that provision, then codified in 8

U.S.C. § 1252(a)(2)(A) (1988), to “statutorily preclude[]” the federal government

“from exercising discretion . . . to release” or to “refrain from instituting deportation

proceedings” against aggravated felons. Whether the DOJ Criminal Division May

Make Promises Not to Deport a Criminal Defendant or Witness, Genco Op. No. 93-

80 (INS), 1993 WL 1504027, at *3 (1993).




1
    https://www.supremecourt.gov/oral_arguments/argument_transcripts/2015/15-674_b97d.pdf.


                                               2
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 3 of 24




      5.     In 1996, Congress—using nearly identical language—expanded that duty

to cover the broader category of “criminal aliens.” Illegal Immigration Reform and

Immigrant Responsibility Act of 1996, Pub. L. 104-208, § 303, 110 Stat. 3009; 8 U.S.C.

§ 1226(c). It did so because it was “justifiably concerned that deportable criminal aliens

who are not detained continue to engage in crime and fail to appear for their removal

proceedings in large numbers.” Demore v. Kim, 538 U.S. 510, 513 (2003).

      6.     At the same time, Congress sought to ensure that those apprehended and

ultimately ordered removed by an immigration judge were actually deported. To

accomplish that, it commanded the federal government to arrest, detain, and remove

any alien with a final order of removal. Illegal Immigration Reform and Immigrant

Responsibility Act § 305; 8 U.S.C. § 1231.

      7.     The Biden Administration seeks to “dispense with” these acts of

Congress. Texas v. United States, 6:21-cv-16, 2021 WL 3683913, at *36 (S.D. Tex. Aug.

19, 2021) (discussing the Biden Administration’s ongoing violations of §§ 1226(c) and

1231(a)). It claims the discretion to decide for itself which aliens should be arrested,

detained, and removed, even if its policy preferences directly conflict with the clear

commands of Congress. And it has used that claimed discretion to allow illegal

immigrants guilty of drug trafficking, burglary, and other serious crimes to return to

our communities upon release from state custody rather than arresting and removing

them as federal law requires.

      8.     This unlawful practice is codified in a memorandum issued September

20, 2021 (the September memo), which became effective November 29, 2021. See

                                             3
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 4 of 24




Ex. 1. The September memo asserts “broad discretion to decide who should be subject

to arrest, detainers, removal proceedings, and the execution of removal orders,” even

for removable aliens covered by express congressional commands. Ex. 1 at 3.

       9.     Plaintiffs, the States of Alabama, Florida, and Georgia, seek vacatur of

the September memo under the Administrative Procedure Act (APA) and a permanent

injunction ending the Biden Administration’s wholesale abdication of its statutory

duties. They do so to prevent the irreparable harm caused by the unlawful release of

convicted criminals into their communities.

                                        PARTIES

       10.    Plaintiffs, the States of Alabama, Florida, and Georgia, are sovereign

States and have the authority and responsibility to protect their public fiscs and the

health, safety, and welfare of their citizens.

       11.    Defendants are the United States, appointed officials of the U.S.

government, and U.S. governmental agencies responsible for the issuance and

implementation of the challenged memorandum.

       12.    Plaintiffs sue Defendant the United States of America under 5 U.S.C.

§§ 702–03 and 28 U.S.C. § 1346.

       13.    Defendant Department of Homeland Security (DHS) is the federal

agency principally responsible for immigration enforcement. DHS oversees

Defendants U.S. Citizenship and Immigration Services (USCIS), U.S. Customs and

Border Protection (CBP), and Immigration and Customs Enforcement (ICE), which

are responsible for administering the challenged policy.

                                             4
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 5 of 24




       14.     Defendant Alejandro Mayorkas is the Secretary of DHS. Plaintiffs sue

him in his official capacity.

       15.     Defendant Tae Johnson is the Acting Director of ICE. Plaintiffs sue him

in his official capacity.

       16.     Defendant Chris Magnus is the Commissioner of CBP. Plaintiffs sue him

in his official capacity.

       17.     Defendant Ur M. Jaddou is the Director of USCIS. Plaintiffs sue her in

her official capacity.

                              JURISDICTION AND VENUE

       18.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

1346, 1361 and 5 U.S.C. §§ 702–03.

       19.     The Court is authorized to award the requested declaratory and

injunctive relief under 5 U.S.C. § 706, 28 U.S.C. §§ 1361, 2201–02, the Constitution,

and the Court’s equitable powers.

       20.     Venue lies in this district pursuant to 28 U.S.C. § 1391(e)(1) because

Plaintiff the State of Alabama is a resident of every judicial district in its sovereign

territory, including this district (and division). See California v. Azar, 911 F.3d 558, 570

(9th Cir. 2018).2 Additionally, a substantial part of the events or omissions giving rise




2
 Accord Alabama v. U.S. Army Corps of Eng’rs, 382 F. Supp. 2d 1301, 1329 (N.D. Ala. 2005); see also
Atlanta & F.R. Co. v. W. Ry. Co. of Ala., 50 F. 790, 791 (5th Cir. 1892) (explaining that “the state
government . . . resides at every point within the boundaries of the state”).


                                                 5
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 6 of 24




to Plaintiffs’ claims occurred in this division because the Alabama Department of

Corrections operates the St. Clair Correctional Facility in this division.

                               FACTUAL BACKGROUND

                              The Federal Immigration Scheme

       21.    “[T]he Immigration and Nationality Act (‘INA’) establishes a

comprehensive scheme for aliens’ exclusion from and admission to the United States.”

Moorhead v. United States, 774 F.2d 936, 941 (9th Cir. 1985) (citations omitted).

       22.    Aliens arriving at the border, either at a port of entry or caught crossing

illegally, are governed by 8 U.S.C. § 1225. That provision sets out procedures for

admitting, removing, and detaining arriving aliens. Arriving aliens are not the focus of

this suit.

       23.    Deportable aliens in the interior of the United States—the focus of this

suit—are subject to different provisions. Section 1227(a) lays out the “classes of

deportable aliens.” Among others, these classes include any alien who is “[p]resent in

violation of law.” 8 U.S.C. § 1227(a)(1)(B). They also include aliens—even lawfully

present aliens—who commit certain acts, including, for example, several criminal

offenses. Id. § 1227(a)(2).

       24.    Section 1226 governs the arrest of these aliens for removal proceedings

before an immigration judge and the detention of these aliens during those

proceedings. Subsection (a) sets the default rule. It provides that “an alien may be

arrested or detained pending a decision on whether the alien is to be removed from the

United States.” Id. § 1226(a).

                                            6
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 7 of 24




       25.     Because subsection (a) uses the permissive “may,” DHS has discretion

not to arrest an alien governed by this provision. And even if DHS does arrest and

detain an alien, § 1226(a)(2) grants DHS the authority to release the alien on bond or

conditional parole.3

       26.     Congress, however, created an exception to this default rule. Beginning

in 1988, Congress instructed federal immigration authorities to prioritize the arrest,

detention, and removal of aliens guilty of “aggravated felon[ies].” See Pub. L. 100-690,

§ 7343, 102 Stat. 4181 (1988); 8 U.S.C. § 1252(a)(2)(A) (1988). Specifically, instead of

the general rule that an alien “may . . . be arrested and taken into custody,”

§ 1252(a)(1) (1988), the statute stated that “[t]he Attorney General shall take into

custody any alien convicted of an aggravated felony upon release of the alien” from

criminal custody, § 1252(a)(2)(A) (1988). Section 1252(a)(2)(A)–(B) also specified that

the Attorney General “may not release from custody” these aggravated felons once

arrested.

       27.     While that provision was in effect, the Department of Justice—then

charged with immigration enforcement—interpreted it to “statutorily preclude[]” the

federal government “from exercising discretion . . . to release the alien.” Whether the

DOJ Criminal Division May Make Promises Not to Deport a Criminal Defendant or

Witness, Genco Op. No. 93-80 (INS), 1993 WL 1504027, at *3 (1993). The


3
  Section 1226 grants this authority to the “Attorney General.” But many of the INA’s references to
the “Attorney General” are now understood to refer to the Secretary of DHS in light of the
restructuring that occurred when Congress created DHS. See La. Forestry Ass’n v. Sec’y U.S. Dep’t of
Labor, 745 F.3d 653, 659 (3d Cir. 2014).


                                                 7
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 8 of 24




Department also interpreted that provision to “statutorily preclude[]” it from

“refrain[ing] from instituting deportation proceedings” against aggravated felons. Id.

      28.    In 1996, Congress became concerned with a “wholesale failure by the

[Attorney General] to deal with increasing rates of criminal activity by aliens,” Demore,

538 U.S. at 518, and “frustrated with the ability of . . . criminal aliens” to “avoid

deportation,” In re Rojas, 23 I. & N. Dec. 117, 122 (BIA 2001) (en banc). As a result,

and against the backdrop of the Executive Branch’s interpretation of the statute to

remove enforcement discretion, Congress expanded § 1252(a)(2)(A) to include

additional crimes and moved it to § 1226(c). Illegal Immigration Reform and

Immigrant Responsibility Act of 1996 § 303.

      29.    Section 1226(c) uses the same mandatory language as its predecessor

statute. It states that DHS “shall take into custody any alien who” is a criminal alien

“when the alien is released” from criminal custody. 8 U.S.C. § 1226(c)(1). And it states

that DHS “may release” such an alien only under narrow circumstances. Id.

§ 1226(c)(2). Criminal aliens, for purposes of § 1226(c), include aliens who have

committed crimes of moral turpitude, 8 U.S.C. §§ 1182(a)(2)(A), 1227(a)(2)(A)(i);

crimes involving controlled substances, id. §§ 1182(a)(2)(A), 1227(a)(2)(B); human

trafficking, id. § 1182(a)(2)(H); money laundering, id. § 1182(a)(2)(I); aggravated

felonies, id. § 1227(a)(2)(A)(iii); and specified firearms offenses, id. § 1227(a)(2)(C),

among others.

      30.    The legislative history reflects “a consensus” that “there is just no place

in America for non-U.S. citizens who commit criminal acts here.” S. Rep. No. 104-

                                           8
          Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 9 of 24




48, 1995 WL 170285, at *6 (1995); see Gerard Savaresse, Note, When is When?: 8 U.S.C.

§ 1226(c) & the Requirements of Mandatory Detention, 82 Fordham L. Rev. 285, 299–300

(2013).

        31.     Congress recognized, however, that expanding immigration authorities’

duties beyond aggravated felons would tax government resources. It thus included in

the legislation creating § 1226(c) a provision called the “Transition Period Custody

Rules.” Illegal Immigration Reform and Immigrant Responsibility Act of 1996 § 303,

8 U.S.C. § 1226 note; see Nielsen v. Preap, 139 S. Ct. 954, 969 (2019) (discussing this

provision).4

        32.     The Transition Period Custody Rules gave immigration officials, “not

later than 10 days after the enactment” of § 1226(c), the option to “notif[y] in writing

the Committees on the Judiciary” for the House and Senate “that there is insufficient

detention space and [federal-immigration] personnel to carry out” § 1226(c). Illegal

Immigration Reform and Immigrant Responsibility Act of 1996 § 303, 8 U.S.C. § 1226

note, 1252 nt. If immigration officials did so, they received a one-year reprieve from

some requirements of § 1226(c), which they could renew for one more year by re-

notifying Congress. Id. After that two-year period, however, Congress expected full

compliance with the non-discretionary commands in § 1226(c).



4
 The Transition Period Custody Rules are reflected in what is called a “statutory note,” which is part
of the governing law. It is not legislative history. Shawn G. Nevers & Julie Graves Krishnaswami, The
Shadow Code: Statutory Notes in the United States Code, 112 Law Libr. J. 213, 214 (2020) (“Statutory notes
are provisions of law placed after the text of a United States Code section. They exist throughout the
United States Code and are valid law despite their location in the Code.”).


                                                    9
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 10 of 24




      33.    The Transition Period Custody Rules demonstrate what § 1226(c)’s text

makes plain—§ 1226(c) is mandatory.

      34.    Section 1368 likewise confirms that § 1226(c) is a mandatory duty. It

requires DHS to report to Congress every six months “estimating the amount of

detention space” required for three separate categories of aliens. 8 U.S.C. § 1368(b)(1).

One category is § 1226(c) aliens, another is “inadmissible or deportable aliens in

accordance with priorities.” Id. In other words, Congress assumes that § 1226(c) aliens

are distinct from those whom DHS has discretion to prioritize or deprioritize.

      35.    Multiple Supreme Court decisions confirm that § 1226(c) is mandatory.

In Jennings v. Rodriguez, the Court held “that § 1226(c) mandates detention of any alien

falling within its scope.” 138 S. Ct. 830, 847 (2018) (emphasis added). Similarly, in

Preap, the Court held that “subsection (c)(1) limits subsection (a)’s first sentence by

curbing the discretion to arrest: The Secretary must arrest those aliens guilty of a

predicate offense.” 139 S. Ct. at 966.

      36.    Consistent with the text, history, and decisional law, the last two

Administrations have agreed that § 1226(c) requires prioritizing the removal of

criminal aliens. President Obama’s Solicitor General stated that “Congress has told

DHS that it has to prioritize the removal of criminal aliens.” Oral Arg. Tr. 21:9–22,

United States v. Texas, 579 U.S. 547 (2016) (No. 15-674). And, in briefs signed by

President Trump’s Solicitor General in Preap, DHS agreed that § 1226(c) created a

“duty to arrest” criminal aliens and “eliminated all discretion.” Br. of Pet’rs. at 23,



                                           10
           Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 11 of 24




Nielsen v. Preap, 139 S. Ct. 954 (2019); Reply Br. of Pet’rs. at 2, Nielsen v. Preap, 139

S. Ct. 954 (2019).

       37.     In the same legislation that created § 1226(c), Congress enacted § 1231(a).

Illegal Immigration Reform and Immigrant Responsibility Act of 1996 § 305. Whereas

§ 1226 applies to aliens subject to removal, § 1231 applies to aliens for whom DHS has

obtained a final order of removal.

       38.     Section 1231(a) states that “the Attorney General shall remove the alien

from the United States within a period of 90 days” and, “[d]uring the removal period,

the Attorney General shall detain the alien.” 8 U.S.C. § 1231(a)(1)(A), (2).

       39.     Unlike § 1226, § 1231(a) applies to any alien with a final order of removal,

not just criminal aliens. But like § 1226(c), § 1231(a) is part of “Congress’s efforts” in

the 1996 legislation “to protect the states, citizens, and legal immigrants from criminal

illegal aliens.” Texas v. United States, 2021 WL 3683913, at *4.

       40.     And like § 1226(c), § 1231(a) is mandatory. See Texas v. United States, 2021

WL 3683913, at *27–34.

                State Cooperation with Federal Immigration Enforcement

       41.     Under Arizona v. United States, States are limited in their own immigration

“enforcement activities.” 567 U.S. 387, 410 (2012). Nonetheless, States “bear[] many

of the consequences of unlawful immigration.” Id. at 397.

       42.     As a result, Plaintiffs rely on the federal government’s enforcement of the

INA in general and §§ 1226(c) and 1231(a) in particular to keep criminals off their

streets.

                                            11
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 12 of 24




       43.    Under President Trump, any removable alien convicted of a crime or

with pending criminal charges was a priority. Ex. 2 at 3. And President Obama’s

Administration agreed with the Trump Administration on the importance of

immigration enforcement against criminals, including aliens who committed any

felony, any “significant misdemeanor,” such as “domestic violence,” “sexual abuse or

exploitation,” “burglary,” “unlawful possession or use of a firearm,” “drug

distribution or trafficking,” or “driving under the influence,” and aliens who were

repeat offenders of even minor misdemeanors. Ex. 3 at 5.

       44.    Relying on these consistent efforts by the federal government to remove

criminals, and to do everything possible to ensure their efficacy, Plaintiffs have taken

great efforts to ensure they cooperate with federal immigration authorities.

       45.    Plaintiffs have entered several cooperation agreements with ICE to

ensure that those in state and local criminal custody are transferred to ICE custody

when their criminal detention ends.5 Plaintiffs, themselves and through their political

subdivisions, have dedicated resources and staff time to ensuring employees are

available and properly trained to comply with these agreements. Plaintiffs have also

enacted laws requiring cooperation with federal immigration authorities. E.g.,

§ 908.105, Fla. Stat.; Ga. Code Ann. § 36-80-23.




5
  Delegation of Immigration Authority Section 287(g) Immigration and Nationality Act, U.S.
Immigration & Customs Enforcement, https://www.ice.gov/identify-and-arrest/287g (last visited
Mar. 31, 2022).


                                             12
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 13 of 24




       46.     Plaintiffs have good reasons for assisting the federal government in

enforcing the immigration laws. In fiscal year 2020, which ended September 2020,

ICE’s Atlanta Office removed 9,137 aliens, ICE’s Miami Office removed 7,046 aliens,

and ICE’s New Orleans Office, which is responsible for Alabama, removed 11,772

aliens.6 In Atlanta, 5,889 were convicted criminals and 1,111 had pending criminal

charges. In Miami, 3,476 were convicted criminals and 1,356 had pending criminal

charges. In New Orleans, 5,188 were convicted criminals and 1,549 had pending

criminal charges.

       47.     Moreover, according to the federal government’s own study of the

recidivism rates of state prisoners, “68% of released prisoners [are] arrested [again]

within 3 years, 79% within 6 years, and 83% within 9 years.” 7 Further, because

prisoners are often arrested numerous times after being released, the study found an

average of five arrests per prisoner within the 9 years following release from state

prison. Because of these high recidivism rates, the failure to remove criminal aliens

necessarily results in additional crimes in Plaintiffs’ territory, victimizing their

citizenry and costing them public funds and essential law enforcement resources.




6
 Local Statistics, ERO FY 2020 Report, U.S. Immigration & Customs Enforcement (Oct. 2021),
https://www.ice.gov/doclib/news/library/reports/annual-report/ero-fy20-localstatistics.pdf.
7
       Measuring       Recidivism,       Nat’l      Inst.      Just.   (Feb.   20,   2008),
https://nij.ojp.gov/topics/articles/measuring-recidivism#statistics.


                                                13
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 14 of 24




                              The Biden Administration’s Actions

        48.     On his first day in office, President Biden issued Executive Order 13993,

Revisions of Civil Immigration Enforcement Policies and Priorities, 86 Fed. Reg.

7,051 (Jan. 20, 2021). The same day, then-Acting DHS Secretary David Pekoske

issued the Biden Administration’s first non-enforcement policy. Ex. 4. That policy

included a “100-day pause” on removals and halted most interior immigration

enforcement. Id. at 2. The government implemented that policy with a second

memorandum on February 18, 2021. Ex. 5.8

        49.     In internal emails, senior officials at DHS, including Defendants named

in this case, discussed the overwhelming reduction in immigration enforcement that

these new policies would cause. Ex. 6.

        50.     On September 30, 2021, Defendant Secretary Mayorkas issued the

September memo, which became effective November 29, 2021. Ex. 1 at 2. The

September memo rescinds and replaces the Biden Administration’s previous non-

enforcement policies. Ex. 1 at 7.9




8
 The States of Texas, Louisiana, Arizona, Montana, and Florida challenged these policies. Texas v.
United States, 6:21-cv-16 (S.D. Tex.) (Texas and Louisiana); Arizona v. DHS, 2:21-cv-186 (D. Ariz.)
(Arizona and Montana); Florida v. United States, 8:21-cv-541 (M.D. Fla.) (Florida). Those challenges
are now moot.
9
 The States of Texas, Louisiana, Arizona, Montana, and Ohio have challenged the September memo.
Texas v. United States, 6:21-cv-16 (S.D. Tex.) (Texas and Louisiana); Arizona v. Biden, 3:21-cv-314 (S.D.
Ohio) (Arizona, Montana, and Ohio).


                                                   14
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 15 of 24




       51.    The September memo, like nearly every immigration policy from this

Administration, is designed to thwart immigration enforcement, even where that

enforcement is required by federal statute.

       52.    The memo asserts “broad discretion to decide who should be subject to

arrest, detainers, removal proceedings, and the execution of removal orders. Ex. 1 at

3. It states that “[t]he fact [that] an individual is a removable noncitizen . . . should not

alone be the basis of an enforcement action against them.” Id. at 3. And it sets forth

categories of aliens who are “priorities” for immigration enforcement.

       53.    The three priority categories are: (1) threats to national security, which

are principally terrorists and spies; (2) threats to public safety, which are those

engaging in “serious criminal conduct” as specified in the memo; and (3) threats to

border security, which are those who entered the United States unlawfully after

November 1, 2020. Id. at 4–5.

       54.    The second category—threats to public safety—is at issue here. The

September memo sets out a series of aggravating and mitigating factors that

immigration officials should consider in deciding whether to take enforcement action.

Id.

       55.    Aggravating factors include things like “the gravity of the offense,” “the

nature and degree of harm caused,” and the “prior criminal record” of the alien. Id.

       56.    Mitigating factors include things like having an “advanced or tender

age,” a “lengthy presence in the United States,” and the “time since [the] offense.” Id.



                                             15
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 16 of 24




       57.     The September memo, however, does not prioritize the removal of aliens

guilty of the criminal offenses covered by § 1226(c) or even attempt to explain away

the government’s legal obligation to do so. It thus asserts discretion where no

discretion exists. See Preap, 139 S. Ct. at 966 (recognizing that immigration officials

“must arrest those aliens guilty of a predicate offense”).

       58.     Nor does the September memo prioritize aliens with final orders of

removal subject to § 1231(a) or acknowledge the government’s obligation to do so.

       59.     Federal officials’ actions on the ground confirm that the government is

flouting its legal obligations to remove aliens under §§ 1226(c) and 1231(a). Since

President Biden took office, federal officials have sent emails stating that they would

refuse to take custody of burglars, drug traffickers, and other serious criminals upon

their release from state custody. Those refusals have continued under the September

memo.

       60.     Further, ICE has “told Texas that it was canceling deportation requests”

for aliens guilty of “evading arrest,” “drunken driving,” “drug possession,” and

“domestic assault injuring a family member.”10

       61.     Similarly, news reports confirm that removable aliens with “drug

conviction[s]” who were detained under President Trump are being released under




10
  Stephen Dinan, DHS cancels deportation request for hit-and-run killer, Wash. Times (Jan. 30, 2022),
https://www.washingtontimes.com/news/2022/jan/30/dhs-cancels-deportation-request-hit-and-
run-killer/.


                                                 16
            Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 17 of 24




President Biden.11 These aliens are subject to mandatory arrest, detention, and

removal because their convictions involve a controlled substance. 8 U.S.C.

§ 1226(c)(1) (discussing id. §§ 1182(a)(2), 1227(a)(2)(B)).

           62.   On top of all of this, the Biden Administration is treating its non-

enforcement policy as an affirmative benefit that removable aliens may invoke. “If a

noncitizen or their representative believe they do not meet DHS’ priorities for

enforcement, detention, or removal, they are encouraged to first contact their local

[ICE] field office to request a case review.”12 If the field office does not grant relief,

“individuals may initiate the ICE Case Review process by emailing” a “Senior

Reviewing Official.”13

                                          Harm to Plaintiffs

           63.   States “bear[] many of the consequences of unlawful immigration.”

Arizona, 567 U.S. at 397. Those consequences are especially grave when it comes to

criminal aliens.

           64.   Plaintiffs spend over $100 million per year incarcerating illegal

immigrants who commit crimes within their borders. They will spend more because

of the criminals the Biden Administration is releasing instead of arresting, detaining,



11
  Joel Rose, A key pillar of Biden’s immigration policy is going on trial this week in Texas, NPR (Feb. 22,
2022), https://www.npr.org/2022/02/22/1081635394/a-key-pillar-of-bidens-immigration-policy-is-
going-on-trial-this-week-in-texas.
12
  Contact ICE About an Immigration/Detention Case, U.S. Immigration & Customs Enforcement,
https://www.ice.gov/ICEcasereview (last visited Mar. 31, 2022).
13
     Id.


                                                   17
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 18 of 24




and removing them, especially given the high recidivism rates among released

prisoners. See ¶ 47.

       65.    Congress recognized these harms when it enacted § 1226(c). It considered

the costs of “criminal alien[] . . . confinement” and acknowledged that criminal aliens

“formed a rapidly rising share of state prison populations.” Demore, 538 U.S. at 518.

       66.    Moreover, Congress has separately recognized the great costs to the

States of criminal-alien crime. Under 8 U.S.C. § 1231(i), the federal government

compensates the States for costs associated with incarcerating illegal immigrants. This

program, however, pays the States only pennies on the dollar.

       67.    Beyond incarceration costs, criminal-alien crime causes Plaintiffs to

expend resources on law enforcement efforts, victims’ services, and mental-health and

substance-abuse treatment.

       68.    Plaintiffs will also expend more resources on the supervised release of

aliens. A substantial portion of individuals released from state prison are supervised

for a period of time. This supervision costs the States time and resources. When the

federal government refuses to fulfill its duties under §§ 1226(c) and 1231(a), these costs

increase.

       69.    Finally, Plaintiffs have a parens patriae interest in the safety of their

citizens and a duty to defend their citizens against the crime victimization that the

federal government’s violation of §§ 1226(c) and 1231(a) will cause. See Florida v.

Nelson, No. 8:21-cv-2524, 2021 WL 6108948, at *9 (M.D. Fla. Dec. 22, 2021).

       70.    Plaintiffs, therefore, seek relief from this Court.

                                            18
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 19 of 24




                                       CLAIMS

                                       COUNT 1

                  Agency action that is not in accordance with law
                 and is in excess of authority in violation of the APA

      71.     Plaintiffs repeat and incorporate by reference ¶¶ 1–70.

      72.     Under the APA, a court must “hold unlawful and set aside agency

action” that is “not in accordance with law” or “in excess of statutory . . . authority,

or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(A), (C).

      73.     The September memo asserts discretion to ignore non-discretionary

statutory duties—namely, the duty to arrest, detain, and remove criminal aliens

under 8 U.S.C. § 1226(c) and the duty to detain and remove aliens with an order of

removal under 8 U.S.C. § 1231(a). In practice, the September memo is being

applied in a way that violates these duties.

      74.     Defendants, therefore, have “gone beyond what Congress has permitted

[them] to do.” City of Arlington v. FCC, 569 U.S. 290, 291 (2013).

      75.     The September memo is contrary to law.

                                       COUNT 2

            Arbitrary and capricious agency action in violation of the APA

      76.     Plaintiffs repeat and incorporate by reference ¶¶ 1–70.

      77.     Under the APA, a court must “hold unlawful and set aside agency

action” that is “arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).

      78.     The September memo is arbitrary and capricious for several reasons.


                                           19
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 20 of 24




      79.       Most fundamentally, Defendants “entirely failed to consider an

important aspect of the problem.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983). The September memo does not even discuss § 1226(c) or

§ 1231(a).

      80.       Similarly, the Defendants displayed no awareness that they have changed

a longstanding position of the federal government, nor do they consider reliance

interests. DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020). The previous

two Administrations acknowledged that DHS must prioritize the arrest, detention,

and removal of criminal aliens. ¶ 36.

      81.       Nor does the September memo consider the substantial costs imposed on

the States by ignoring §§ 1226(c) and 1231(a), a “centrally relevant factor when

deciding whether to regulate.” Michigan v. EPA, 576 U.S. 743, 752–53 (2015).

      82.       Finally, insofar as Defendants claim the September Memo is justified by

resource constraints, this rationale is pretextual. See Dep’t of Com. v. New York, 139 S.

Ct. 2551, 2573–74 (2019). As internal documents acknowledge, ¶ 49, the Biden

Administration is intentionally reducing immigration enforcement for political

reasons.

      83.       The September memo is arbitrary and capricious.

                                        COUNT 3

             Failure to conduct notice and comment in violation of the APA

      84.       Plaintiffs repeat and incorporate by reference ¶¶ 1–70.



                                            20
         Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 21 of 24




       85.      The APA requires notice of, and comment on, agency rules that “affect

individual rights and obligations.” Chrysler Corp. v. Brown, 441 U.S. 281, 303 (1979);

see 5 U.S.C. § 553.

       86.      Even assuming Defendants have discretion to depart from the clear

requirements of §§ 1226(c) and 1231(a), establishing a policy of this kind at a minimum

required notice and comment. See Jean v. Nelson (Jean I), 711 F.2d 1455, 1483 (11th

Cir. 1983).14

       87.      Notice and comment was required.

                                            COUNT 4

                         Agency action unlawfully withheld or
                      unreasonably delayed in violation of the APA

       88.      Plaintiffs repeat and incorporate by reference ¶¶ 1–70.

       89.      At a minimum, Defendants’ refusal to comply with §§ 1226(c) and

1231(a) qualifies as agency action unlawfully withheld or unreasonably delayed in

violation of 5 U.S.C. § 706(1).

                                            COUNT 5

                        Violation of the INA and the Constitution

       90.      Plaintiffs repeat and incorporate by reference ¶¶ 1–70.




14
  The Eleventh Circuit granted rehearing en banc of that decision and did not reach the merits of the
APA claims. See Jean II, 727 F.2d 957. But the reason the en banc court did not address the notice and
comment argument is because the federal government conducted notice and comment in response to
the panel opinion. Id. at 984.


                                                 21
        Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 22 of 24




      91.     The APA aside, the federal government cannot ignore federal statutes,

and there is a non-statutory cause of action to challenge the conduct described in

Count 1. See, e.g., Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952); Armstrong

v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015) (discussing “a long history of

judicial review of illegal executive action”).

                                       COUNT 6

     Declaratory judgment that the Biden Administration’s policy is unlawful

      92.     Plaintiffs repeat and incorporate by reference ¶¶ 1–70.

      93.     For the same reasons described in Counts 1 and 5, Plaintiffs are entitled

to a declaratory judgment that the Biden Administration is violating the law.

                               PRAYER FOR RELIEF

      For these reasons, Plaintiffs ask the Court to:

       a) Hold unlawful and set aside the September memo.

       b) Issue permanent injunctive relief enjoining Defendants from enforcing the

            September memo.

       c) Compel the agency to comply with §§ 1226(c) and 1231(a) pursuant to 5

            U.S.C. § 706.

       d) Issue declaratory relief declaring the September memo unlawful.

       e) Award Plaintiffs costs and reasonable attorney’s fees.

       f) Award such other relief as the Court deems equitable and just.




                                            22
Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 23 of 24




                      Respectfully submitted,


                      Steve Marshall
                      ATTORNEY GENERAL OF ALABAMA

                      /s/ Edmund G. LaCour
                      Edmund G. LaCour Jr.
                      SOLICITOR GENERAL

                      Office of the Alabama Attorney General
                      501 Washington Avenue
                      Montgomery, AL 36130-0152
                      (334) 353-2196
                      edmund.lacour@alabamaag.gov

                      Counsel for the State of Alabama


                      Ashley Moody
                      ATTORNEY GENERAL OF FLORIDA

                      James H. Percival*
                      DEPUTY ATTORNEY GENERAL OF LEGAL POLICY
                      *pro hac vice forthcoming

                      Office of the Attorney General
                      The Capitol, Pl-01
                      Tallahassee, Florida 32399-1050
                      (850) 414-3300
                      (850) 410-2672 (fax)
                      james.percival@myfloridalegal.com

                      Counsel for the State of Florida




                               23
Case 4:22-cv-00418-CLM Document 1 Filed 04/04/22 Page 24 of 24




                      Christopher M. Carr
                      ATTORNEY GENERAL OF GEORGIA

                      Stephen J. Petrany*
                      SOLICITOR GENERAL
                      *pro hac vice forthcoming

                      Georgia Department of Law
                      40 Capitol Square, SW
                      Atlanta, Georgia 30334
                      (404) 458-3408
                      spetrany@law.ga.gov

                      Counsel for the State of Georgia




                               24
